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   8
                           UNITED STATES DISTRICT COURT
   9
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
  10
                                       WESTERN DIVISION
  11
  12
       GIRIBALA PATEL and SAJAN               Case No. 8:19-CV-01539-DOC-KES
  13   PATEL,
  14                                          Honorable David O. Carter
                         Plaintiffs,
  15         vs.                              DEFENDANT GOOGLE LLC’S
                                              REPLY IN SUPPORT OF ITS
  16   CITIBANK CORPORATION, a New            MOTION TO DISMISS COMPLAINT
       York Corporation; BANK OF              PURSUANT TO FEDERAL RULE OF
  17   AMERICA, a North Carolina              CIVIL PROCEDURE 12(b)(6)
       Corporation; JP MORGAN CHASE &
  18   CORPORATION, New York
       Corporation; REGIONS FINANCIAL
  19   CORPORATION, an Alabama
       Corporation; APPLE, INC., a            Date:              September 30, 2019
  20   California Corporation; GOOGLE,        Time:              8:30 a.m.
       LLC, a California Limited Liability    Courtroom:         9D
  21   Company; FEDEX CORPORATION,
       a Tennessee Corporation; LYNDA
  22   KATHLYN COMADURAN, an
       Individual; SUBHANKAR BOSE, an
  23   Individual; and DOES 1 through 100,
       inclusive,
  24                      Defendants.
  25
  26
  27
  28

                                              GOOGLE’S REPLY IN SUPPORT OF 12(b)(6) MOTION
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   1   I.    INTRODUCTION
   2         Plaintiffs’ Opposition fails to address numerous grounds set forth in Google’s
   3   moving papers justifying dismissal of Plaintiff’s Complaint. For example, Google
   4   provided controlling authorities holding that a negligence claim necessarily fails as a
   5   matter of law where, as here, Plaintiffs are suing based on a defendant’s nonfeasance
   6   but cannot show a special relationship between the parties. Plaintiffs’ Opposition
   7   never addresses the special relationship requirement, let alone provides legal
   8   authority supporting the existence of one here. Similarly, Google’s moving papers
   9   pointed out that Plaintiffs’ breach of fiduciary duty claim failed because they could
  10   not allege a basis for the existence of fiduciary duties owed by Google. Plaintiffs’
  11   Opposition simply ignores that necessary element. Besides failing to address these
  12   core issues of duty, Plaintiffs’ Opposition also ignores additional, independent
  13   grounds for dismissal set forth in Google’s moving papers: Plaintiffs’ failure to
  14   adequately allege the element of proximate causation, and the economic loss doctrine.
  15         Even when Plaintiffs do respond to certain arguments and authorities set forth
  16   in Google’s moving papers, they fail to provide this Court with any reason to deny
  17   Google’s Motion. Nor do they provide any basis for allowing them leave to amend.
  18   To the contrary, Plaintiffs’ Opposition only confirms that each of their claims against
  19   Google is not just inadequately pleaded, but suffers from incurable legal defects.
  20   Google’s Motion should be granted without leave to amend.
  21   II.   PLAINTIFFS IGNORE CONTROLLING LAW BARRING THEIR
  22         NEGLIGENCE CLAIM BECAUSE THERE IS NO SPECIAL
  23         RELATIONSHIP GIVING RISE TO A DUTY OWED BY GOOGLE
  24         Google’s moving papers set forth controlling case law holding that, in cases
  25   like this of alleged nonfeasance, “absent a special relationship, an actor is under no
  26   duty to control the conduct of third parties” and, without such a special relationship,
  27   “there is no basis for imposing a legal duty on him to prevent the harm inflicted by
  28   unknown third persons.” Melton v. Boustred, 183 Cal. App. 4th 521, 533 (2010); see also
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   1   Mot. at 4:19-8:6. Plaintiffs do not dispute that their negligence claim is based on
   2   nonfeasance by Google, as their alleged harm was admittedly caused by a scheme
   3   perpetrated by the “Fraudulent Actors,” not Google. Opp. at 1:10-2:19; see also id. at 4:12-
   4   20.
   5          As Google’s moving papers explained, Plaintiffs’ negligence claim fails as a matter
   6   of law because Plaintiffs do not allege any basis for the existence of the requisite special
   7   relationship. Mot. at 7:3-8:6. Plaintiffs’ Opposition does not dispute that. See generally
   8   Opp. (no discussion of special relationship). Because Plaintiffs fail to allege a special
   9   relationship, their negligence claim necessarily fails. E.g., Conti v. Watchtower Bible &
  10   Tract Soc'y of New York, Inc., 235 Cal. App. 4th 1214, 1227–28 (2015) (numerous cases
  11   “have held that, where the issue is whether the defendant had a duty to protect the plaintiff
  12   from harm caused by a third party, the absence of a special relationship is dispositive and
  13   there is no reason to conduct the analysis prescribed in Rowland v. Christian (1968) 69
  14   Cal.2d 108, 70 Cal.Rptr. 97, 443 P.2d 561 (Rowland), to determine whether a duty
  15   nevertheless existed”); accord Melton, 183 Cal. App. 4th at 536. On this basis alone, the
  16   Court should dismiss Plaintiffs’ negligence claim against Google without leave to amend. 1
  17   III.   PLAINTIFFS’ OPPOSITION RELIES ON INAPPOSITE CASE LAW
  18          THAT ONLY UNDERSCORES WHY THEIR NEGLIGENCE CLAIM
  19          FAILS AS A MATTER OF LAW FOR LACK OF A LEGAL DUTY
  20          A. Plaintiffs’ Claim Against Google Is Based On Nonfeasance, But Their
  21              Opposition Relies on Inapposite Cases Addressing Misfeasance
  22          1
                Although Plaintiffs allege that Google had received complaints about gift
  23   cards being used in fraudulent schemes, Opp. at 2:14-16, their Opposition cites
       caselaw acknowledging that California rejects knowledge of third-party misconduct
  24   as a valid basis for recognizing a special relationship in the context of nonfeasance
       claims – even where the defendant is a governmental actor whose job is to protect the
  25   public. Opp. at 4:17-20 (citing Minch v. Dep’t of California Highway Patrol, 140
       Cal. App. 4th 485, 901-05 (2006), which discussed California Supreme Court
  26   decisions finding that no special relationship existed between government law
       enforcement and ordinary citizens, and rejecting negligence claims based on
  27   government actors’ failure to protect ordinary citizens from known violent threats);
       see also DeShaney v. Winnebago Cty. Dep’t of Soc. Servs., 489 U.S. 189, 197 (1989
  28   (same), cited in Mot. at 12:8-13.

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   1         Plaintiffs’ Opposition relies almost entirely on two inapposite cases that
   2   addressed negligence claims based on misfeasance—not nonfeasance. See Opp. at
   3   5:12-7:19 (citing Sun 'n Sand, Inc. v. United California Bank, 21 Cal. 3d 671 (1978)
   4   and Joffe v. United California Bank, 141 Cal. App. 3d 541 (1983)). In Sun ‘n Sand,
   5   the court explained that “[t]he asserted wrong, therefore, is not that [defendant] failed
   6   to intervene beneficially (nonfeasance) but rather that it affirmatively engaged in risk-
   7   creating conduct (misfeasance).” 21 Cal. 3d at 693. In Joffe, the plaintiff’s
   8   negligence claim was premised on the defendant’s conduct that was nearly identical
   9   to that of the defendant in Sun ‘n Sand. 141 Cal. App. 3d at 548, 556 (defendant bank
  10   alleged to have credited proceeds of check to a party to whom the check was not
  11   made out, thereby causing plaintiff to lose $25,000). Thus, in those cases, the courts
  12   “need not consider whether a special relationship exist[ed]” between the plaintiffs
  13   and the defendants, as the negligence claims were based on misfeasance, not
  14   nonfeasance. Sun ‘n Sand, 21 Cal. 3d at 693. Here, by contrast, Plaintiffs’ claims are
  15   based on an alleged failure to intervene (nonfeasance) and thus Plaintiffs were
  16   required to demonstrate a special relationship. See supra, Section II. Sun ‘n Sand
  17   and Joffe are thus, on their face, inapplicable and provide no legal support for
  18   Plaintiff’s claim against Google.
  19         B. The Cases That Plaintiffs Rely On Fail To Support Their Claim
  20             Against Google For Additional Reasons
  21         Moreover, even if Plaintiffs had alleged a valid basis for a special relationship
  22   (they did not), Sun ‘n Sand and Joffe would still not support the validity of their
  23   negligence claim against Google. As an initial matter, subsequent courts have noted
  24   that “[t]he lead opinion in Sun'n Sand expressed the views of only two members of
  25   the court and, as Witkin would say, that opinion ‘is not a precedent at all.’” (9 Witkin,
  26   Cal. Procedure (3d ed. 1985) Appeal, § 808, p. 789.).” Roy Supply, Inc. v. Wells
  27   Fargo Bank, 39 Cal. App. 4th 1051, 1068 (1995); see also E-Fab, Inc. v.
  28   Accountants, Inc. Servs., 153 Cal. App. 4th 1308, 1321 (2007) (citing Roy Supply and
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                                                   GOOGLE’S REPLY IN SUPPORT OF 12(b)(6) MOTION
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   1   stating: “We acknowledge the existence of authority questioning the precedential
   2   value of Sun ‘n Sand”).
   3         Furthermore, even assuming arguendo that Sun ‘n Sand held precedential value
   4   (despite indications to the contrary in subsequent cases like Roy Supply), its holding
   5   is, as Plaintiff admits, “circumscribed.” Opp. at 6:6. It addressed very specific facts
   6   arising in a very particular context that have no application here. Sun n’ Sand held
   7   that the defendant bank owed a legal duty of care to the plaintiff company where a
   8   company employee had “altered” company checks that were payable to the bank by
   9   (1) “increasing the amount” of the checks; and (2) “[a]lthough [the bank] was the
  10   named payee, it caused or permitted the proceeds of the checks to be deposited in a
  11   personal account maintained by the embezzling employee at” the defendant bank. Id.
  12   at 678. The court “agreed that an attempt by a third party to divert the proceeds of a
  13   check drawn payable to the order of a bank to the benefit of one other than the drawer
  14   or drawee suggests a possible misappropriation.” Id. at 694. As a result, the court
  15   “conclude[d] that Sun ‘n Sand's allegations define circumstances sufficiently
  16   suspicious that [the defendant bank] should have been alerted to the risk that Sun 'n
  17   Sand's employee was perpetrating a fraud. By making reasonable inquiries, [the
  18   defendant bank] could have discovered the fraudulent scheme and prevented its
  19   success.” Id. at 694-95. However, as the court explained, this “duty is narrowly
  20   circumscribed: It is activated only when checks, not insignificant in amount, are
  21   drawn payable to the order of a bank and are presented to the payee bank by a third
  22   party seeking to negotiate the checks for his own benefit.” Id. at 694-95 (emphases
  23   added); see also Joffe, 141 Cal. App. 3d at 555-56 (defendant bank owed a duty of
  24   care where plaintiff alleged facts similar to Sun ‘n Sand).
  25         Subsequent courts have noted just how limited Sun n’ Sand and Joffe are. For
  26   example, in Chazen v. Centennial Bank, 61 Cal. App. 4th 532, 545 (1998), the Court
  27   of Appeal explained that “Sun ‘n Sand and its progeny have held banks to be subject
  28   to a duty of care toward non-depositors only in narrow factual circumstances: each
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   1   case involved the bank's liability for allowing a person to deposit a check, payable to
   2   someone else, into a personal account, under circumstances that should have alerted
   3   the bank to the possibility of fraud.” Id. at 545. The court added that “[i]t is not clear
   4   whether the decisions can be applied to other factual circumstances” because they
   5   “appear, at least in part, to reflect policy applying specifically to the negotiation of a
   6   check by person who is not the named payee.” Id. Other courts have similarly
   7   recognized that Sun n’ Sand is limited to a specific context (banks) and specific
   8   circumstances (inexplicable blunders by banks who allowed fraudulent actors to
   9   deposit and obtain the proceeds of checks that were not payable to them). E.g., Gil v.
  10   Bank of Am., N.A., 138 Cal. App. 4th 1371, 1379 (2006) (Sun 'n Sand “articulates the
  11   one narrowly circumscribed situation under which a bank has a duty to a
  12   nondepositor to investigate a banking situation,” i.e., “when large checks, drawn
  13   payable to the order of a bank are presented to the payee bank by a third party
  14   seeking to negotiate the checks for his or her own benefit”). Tellingly, Plaintiffs fail
  15   to cite any caselaw applying the duty of care recognized in Sun n’ Sand outside of the
  16   banking and fraudulent check context, and Google is unaware of any such cases.
  17         In contrast to Sun ‘n Sand and Joffe, the alleged fraud here does not involve a
  18   third party altering a legal instrument in an obvious manner and then deceiving a
  19   credulous defendant into wrongfully crediting the obviously fraudulent instrument to
  20   the third party’s benefit and the plaintiff’s detriment. To the contrary, Plaintiffs
  21   admit that they provided the Fraudulent Actors with the Google Play gift cards and/or
  22   the PIN numbers knowing that the Fraudulent Actors could then simply redeem them.
  23   Compl. ¶¶ 25-26. This presents an entirely different situation than in Sun ‘n Sand
  24   and Joffe. See Sun ‘n Sand, 21 Cal. 3d at 696 (“The bank does not have to be
  25   especially vigilant; its agent need only read what appears on the face of the check to
  26   be warned that a fraud may be in progress” as “the bank is confronted with an
  27   obvious irregularity” and thus the risk of harm to the injured party is self-evidently
  28   foreseeable).
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    1         C. Courts Have Consistently Refused To Recognize A Legal Duty Even In
    2            Cases With Far More Compelling Circumstances Than Here
    3         Other courts have consistently declined to recognize a legal duty even when
    4   presented with factual scenarios far more similar to Sun ‘n Sand than here.
    5   For example, in Burns v. Neiman Marcus Grp., Inc., 173 Cal. App. 4th 479, 486
    6   (2009), the court ruled that it “will not extend the holding of Sun n’ Sand and Joffe to
    7   the facts of this case,” where a third party had written checks from her employer’s
    8   account payable to Neiman Marcus for goods she purchased. The court stressed
    9   certain distinctions with Sun ‘n Sand. First, in Burns, the defendant charged with
  10    negligence was a department store, not a bank. Id. at 483-84. Second, the court
  11    emphasized that “in Sun ‘n Sand, there was no discernable reason for the bank’s
  12    action in allowing checks, payable to the bank, to be deposited into the employee's
  13    personal account,” whereas “[i]n this case, we are presented with Neiman Marcus’s
  14    acceptance of third party checks, payable to Neiman Marcus, in satisfaction of a
  15    customer's legitimate debt to the store for the purchase of goods.” Id. at 492. Based
  16    on those distinctions, the court held that “we shall not extend Sun ‘n Sand beyond its
  17    specific facts, and accordingly, we reject plaintiff's invitation to impose a duty upon
  18    Neiman Marcus based upon Sun ‘n Sand.” Id.
  19          Here, Google’s conduct is even farther removed from the third-party fraud than
  20    that of the defendant in Burns. In Burns, the fraudulent third-party forged plaintiff’s
  21    checks and then used them to purchase goods from Neiman Marcus. Here, Google
  22    simply made its gift cards available for purchase, and Plaintiffs bought and then
  23    shared the cards with the Fraudulent Actors, who, as Plaintiffs knew, would then be
  24    able to redeem the cards. See Karen Kane, Inc. v. Bank of Am., 67 Cal. App. 4th
  25    1192, 1202 (1998) (dismissing negligence claim against bank and rejecting proposed
  26    duty of inquiry/fraud prevention because “the checks were paid to the payees selected
  27    by [the plaintiff]” and the plaintiff’s “contention is not that the endorsements should
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    1   have indicated that there was something wrong with the checks or their negotiation,
    2   but that there was something wrong with the payees selected by” the plaintiff itself).
    3         While the Opposition asserts that “the harm that occurred to Plaintiffs was
    4   foreseeable” because other people “have lost the money loaded into the gift cards,”
    5   Opp. at 6:18-22, that misstates the proper analysis regarding foreseeability. As the
    6   Court of Appeal explained in Melton, “in the case of criminal conduct by a third
    7   party,” “an extraordinarily high degree of foreseeability is required to impose a duty
    8   on” another defendant. 183 Cal. App. 4th at 536 (original emphasis). Such an
    9   extraordinarily high degree of foreseeability is not present here because anything of
  10    value – whether a gift card, cash, gold coins, etc. – can by used by third parties as part
  11    of a criminal scheme. There is nothing inherently dangerous about Google Play gift
  12    cards that makes their potential misuse “foreseeable.” Countless people purchase
  13    Google Play gift cards for innocent and legitimate reasons every day. Just as
  14    Plaintiffs cannot hold the U.S. Treasury liable for printing the $150,000 that they
  15    mailed to the Fraudulent Actors because the Treasury should have “foreseen” that
  16    cash could be used in a fraudulent scheme, they cannot hold Google liable because
  17    the Fraudulent Actors requested $10,000 in gift cards in lieu of more cash.
  18    Moreover, while Plaintiffs assert that “Google failed to train their employees and
  19    store personnel in educating and informing customers about the risks of losing their
  20    hard-earned money to scammers,” Opp. at 2:17-19; see also id. at 7:12-17, Exhibit D
  21    to Plaintiff’s own Complaint demonstrates that Plaintiff Patel bought the Google Play
  22    gift cards at Ralph’s, Albertson’s and 7-Eleven stores.
  23          Plaintiffs are equally misguided in arguing that “there was a high degree of
  24    certainty that Plaintiffs would suffer this specific type of harm because when
  25    Plaintiffs purchased an abnormal amount of money in gift cards it places Defendant
  26    on notice that something wrong has occurred.” Opp. at 6:22-25. Even in cases
  27    addressing the specialized context of banks, courts have rejected similar “notice”
  28    arguments premised on the “large amounts” of checks, even when, unlike here, they
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    1   “bore unbusinesslike and unorthodox endorsements which departed from standard
    2   business practice, and were negotiated for cash at a check cashing service.” Karen
    3   Kane, 67 Cal. App. 4th at 1197–98 (holding negligence claim against bank failed as a
    4   matter of law); see also QDOS, Inc. v. Signature Fin., LLC, 17 Cal. App. 5th 990,
    5   1001 (2017) (same); Rodriguez v. Bank of the W., 162 Cal. App. 4th 454, 464–65
    6   (2008) (same). In Karen Kane, the court also emphasized that it is disingenuous for a
    7   plaintiff to argue that a third-party fraud victimizing the plaintiff was “foreseeable” to
    8   a defendant where plaintiff itself failed to foresee and detect the fraud despite having
    9   the opportunity – and ample motivation – to do so. 67 Cal. App. 4th at 1197–98. The
  10    court reasoned that the plaintiff, “as the maker of the checks, had first-hand
  11    knowledge” regarding them but “alleged that this knowledge did not enable it to
  12    discover the scheme earlier than it did.” Id. The court concluded “[i]t is difficult to
  13    see how the amount or frequency of the checks could constitute notice of possible
  14    fraud to [defendants], but not to [plaintiff], the maker of the checks.” Id.
  15          Karen Kane is also instructive on another issue raised in the Opposition: the
  16    burden of the purported duty that Plaintiffs would impose on Google and all other
  17    entities selling gift cards. While Plaintiffs try to downplay the burden that would be
  18    imposed if a duty to inquire/protect were recognized here, Opp. at 7:1-17, the reality
  19    is far different. As Karen Kane explained with respect to the proposed duty of
  20    inquiry/fraud prevention rejected there, “a considerable burden would be imposed on
  21    check cashing services, banks, and their customers if we were to find that those
  22    institutions had to inquire into the activities of both the makers and payees of checks
  23    regarding the possibility of internal fraud, and the flow of commerce would be
  24    substantially impeded.” 67 Cal. App. 4th at 1199. The same is even more true of gift
  25    cards. If Plaintiffs’ proposed duty were recognized, it is difficult to see how gift
  26    cards could be offered for sale at all. Gift card issuers – like the U.S. Treasury or
  27    ATM machine operators with respect to cash – could never be sure that third-party
  28    fraudulent actors will not utilize gift cards as part of a nefarious scheme. Plaintiffs
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                                                    GOOGLE’S REPLY IN SUPPORT OF 12(b)(6) MOTION
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    1   admit as much, as they urge “a duty of inquiry in this case Google should prevent the
    2   commonly known crime by simply restricting the purchase of its gift cards[.]” Opp.
    3   at 7:3-6 (emphasis added). That is the same argument that the Court of Appeal
    4   rejected in Karen Kane. 67 Cal. App. 4th at 1199.2 The court also emphasized that
    5   imposition of such a burden was particularly unjustified where the plaintiff “had the
    6   ability to police its own financial practices” and “to take steps to avoid being
    7   victimized by” others. Id. The court reasoned: “It is that person who has the most
    8   control and the most to win or lose ... with whom the investigative tasks should rest.”
    9   Id. (quoting Software Design & Application, Ltd. v. Hoefer & Arnett, Inc., 49 Cal.
  10    App. 4th 472, 483 (1996)); see also QDOS, 17 Cal. App. 5th at 1003 (“Indeed, the
  11    statute governing the scope of duties of care specifically provides that no duty of care
  12    will lie where the putative plaintiff ‘has, willfully or by want of ordinary care,
  13    brought the injury upon himself or herself.’ (Civ. Code, § 1714, subd. (a)”).
  14          Relatedly, courts have been especially unwilling to recognize a legal duty to
  15    investigate/protect/inform of risk where the plaintiff “suffered harm at the hands of” a
  16    third party and “there is no moral blame attached to the [defendant’s] behavior.”
  17    Karen Kane. 67 Cal. App. 4th at 1199; accord Burns, 173 Cal. App. 4th at 490. And
  18    they also have rejected imposition of a legal duty that is unlikely to “prevent future
  19    harm” in light of the nature of the underlying fraudulent scheme that victimized the
  20    plaintiff and the ability of “[s]coundrels who can defraud” to find a way to work-
  21    around the proposed duty. Karen Kane. 67 Cal. App. 4th at 1199. Here, Plaintiffs’
  22    course of conduct demonstrates that – even if Google Play gift cards did not exist –
  23    Plaintiffs still would have been defrauded. The Fraudulent Actors could simply have
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              2
                 See also QDOS, 17 Cal. App. 5th at 1001–02 (same). By contrast, the
        narrowly circumscribed duty of inquiry recognized in Sun ‘n Sand was accepted only
  27    after the court was assured that “commerce” would not be “impeded by a duty of
  28    inquiry” under the very narrow circumstances addressed there. 21 Cal. 3d at 696.

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                                                    GOOGLE’S REPLY IN SUPPORT OF 12(b)(6) MOTION
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    1   instructed Plaintiffs to transmit the $10,000 through one of the other mechanisms
    2   used to transfer significantly larger sums, i.e., wire transfers or cash.
    3         Moreover, courts have cautioned that new duties of care should only be created
    4   where such duties are “narrowly circumscribed” and the defendant’s “obligation is
    5   minimal” and clearly defined. Sun ‘n Sand, 21 Cal. 3d at 695; see also QDOS, 17
    6   Cal. App. 5th at 1003 (“Sun ‘n Sand itself acknowledged that the duty it was
    7   recognizing was “‘narrowly circumscribed.’”). Here, Plaintiffs seek to impose a duty
    8   on Google that, by Plaintiff’s own admission, is not narrowly circumscribed, but far-
    9   reaching and vaguely defined. Opp. at 7:4-17 (suggesting that Google should comply
  10    with its proposed duty by “restricting the purchase of its gift cards,” “alerting the
  11    authorities of such acts to guide its customers in finding the help they desperately are
  12    in need of to prevent harm,” “tak[ing] action to improve its practice of selling such
  13    gift cards,” “improv[ing] its procedures for protecting customers,” “develop[ing]
  14    ways to inform and educate customers of these mischievous methods,” and
  15    “train[ing] employees to limit such transactions or red flag such transactions”).3
  16    IV.   PLAINTIFFS’ OPPOSITION FAILS TO ADDRESS ADDITIONAL
  17          LEGAL DEFECTS IN THEIR NEGLIGENCE CLAIM
  18          Google’s moving papers set forth two additional and independent grounds for
  19    dismissal of Plaintiff’s negligence claim: (1) failure to plausibly allege that Google
  20    proximately caused Plaintiffs’ claimed damages; and (2) the economic loss doctrine.
  21    Mot. at 11-13. Plaintiffs’ Opposition ignores those additional grounds. Their failure
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  23          3
                 See also Thompson v. Cty. of Alameda, 27 Cal. 3d 741, 754–55 (1980)
  24    (rejecting claim County owed duty to warn about release of violent criminal from
        prison because “we foresee significant practical obstacles in the imposition of a duty
  25    in the form that plaintiffs seek, concluding that it would be unwieldy and of little
        practical value. As previously indicated a large number of persons are released and
  26    supervised on probation and parole each year in this state. Notification to the public
        at large of the release of each offender who has a history of violence and who has
  27    made a generalized threat at some time during incarceration or while under
        supervision would, in our view, produce a cacaphony of warnings that by reason of
  28    their sheer volume would add little to the effective protection of the public.”).

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                                                     GOOGLE’S REPLY IN SUPPORT OF 12(b)(6) MOTION
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    1   to dispute them further justifies dismissal of Plaintiff’s negligence claim without
    2   leave to amend.
    3   V.    THE OPPOSITION FAILS TO ADDRESS MULTIPLE LEGAL
    4         DEFECTS IN PLAINTIFFS’ BREACH OF FIDUCIARY DUTY CLAIM
    5         Google’s moving papers demonstrated that Plaintiff’s breach of fiduciary duty
    6   claim failed because Plaintiff failed to allege a basis for the existence of fiduciary
    7   duties owed by Google. Mot. at 13-14. Plaintiffs’ Opposition fails to address that
    8   defect. Instead, they simply repeat their argument regarding the purported existence
    9   of a legal duty to support a negligence claim. Opp. at 7-8. But a breach of fiduciary
  10    duty claim requires the existence of fiduciary duties, not just an ordinary duty of care
  11    that might support a negligence claim. E.g., Gilman v. Dalby, 176 Cal. App. 4th 606,
  12    615 (2009) (holding that “[b]ecause the allegations of the complaint do not establish
  13    that defendants had a fiduciary duty to [plaintiff], the trial court correctly sustained,
  14    without leave to amend, the demurrer to [plaintiff’s] cause of action for breach
  15    of fiduciary duty”); see also Ostayan v. Nordhoff Townhomes Homeowners Assn.,
  16    Inc., 110 Cal. App. 4th 120, 125 (2003) (a “fiduciary duty” is distinct from and is
  17    “not [the same as] an independent duty arising under general negligence principles”).
  18          Plaintiffs’ Opposition cites case law for the proposition that a breach of
  19    fiduciary duty claim “can be based upon either negligence or fraud[.]” Opp. at 7:26.
  20    But the cases they cite make clear that is true with regard to the element of breach,
  21    i.e., if – and only if – a defendant first owes a plaintiff a fiduciary duty, then either a
  22    defendant’s negligence or its fraud can constitute a breach of such duty. See Opp. at
  23    7:25-28, citing Tribeca Companies, LLC v. First Am. Title Ins. Co., 239 Cal. App. 4th
  24    1088, 1114, (2015) (“The breach of fiduciary duty can be based upon either
  25    negligence or fraud, depending on the circumstances”) (emphasis added); Salahutdin
  26    v. Valley of California, Inc., 24 Cal. App. 4th 555, 563 (1994) (same); see also Opp.
  27    at 7:28-8:1 (citing Federal Deposit Ins. Corp. v. McSweeney, 772 F. Supp. 1154,
  28    1157 (S.D. Cal. 1991), which explained that “defendants’ attempt to characterize the
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                                                     GOOGLE’S REPLY IN SUPPORT OF 12(b)(6) MOTION
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    1   FDIC’s claim for breach of fiduciary duty, as nothing more than a common
    2   negligence claim, must fail” as the two are distinct causes of action).
    3         Thus, Plaintiffs’ breach of fiduciary duty claim should be dismissed without
    4   leave to amend based on their inability to allege any basis for fiduciary duties owed
    5   by Google. In addition, as with their negligence claim, Plaintiffs’ breach of fiduciary
    6   duty claim also fails for two separate and independent reasons: (1) their failure to
    7   plausibly allege that Google proximately caused Plaintiffs’ claimed damages; and (2)
    8   the economic loss doctrine. See supra, Section IV; see also Mot. at 15.
    9   VI.   CONCLUSION
  10          For the foregoing reasons, Google’s Motion to Dismiss the Complaint should
  11    be granted without leave to amend, as Plaintiff’s claims against Google are not just
  12    inadequately pleaded, but suffer from incurable legal defects.
  13    Dated: September 16, 2019                   JASSY VICK CAROLAN LLP
  14                                                By: /s/ Kevin L. Vick
                                                    Kevin L. Vick
  15
                                                    Attorneys for Defendant
  16                                                GOOGLE LLC
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                                                   GOOGLE’S REPLY IN SUPPORT OF 12(b)(6) MOTION
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